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 8                                      UNITED STATES DISTRICT COURT
 9                                 SOUTHERN DISTRICT OF CALIFORNIA
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                                                    )
11 UNITED STATES OF AMERICA,                        )   Criminal No. 08-CR-4229-JLS
                                                    )
12                         Plaintiff,               )   ORDER GRANTING NON-PARTY
                                                    )   MOTIONS TO QUASH SUBPOENAS
13                                                  )
     v.                                             )   [Doc. Nos. 721, 722, 723 and 732]
14                                                  )
                                                    )
15 WESTERN TITANIUM, INC., et al.                   )
                                                    )
16                         Defendants.              )
                                                    )
17                                                  )
18          Presently before the Court are motions to quash subpoenas filed by non-parties Pro-Fab, Inc.
19 (Doc. No. 721), Titanium Industries, Inc. (Doc. No. 722), Senior Aerospace Jet Products (Doc. No.
20 723), and Supra Alloys, Inc. (Doc. No. 732). For the reasons set forth below, the Court will grant each
21 of the motions.
22                                                 Discussion
23          On October 18, 2010 Defendant Western Titanium Inc. (“Western”) obtained subpoenas directed
24 to the custodians of records for the non-party business entities. The subpoenas commanded the
25 production of documents in court on October 25, 2010, the first day of trial.1 The items required to be
26 produced include a broad array of documents spanning over an eight-year time period. For example,
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              Pursuant to this Court’s oral order of October 25, 2010, enforcement of the subpoenas has
     been stayed during resolution of any pending motion to quash.
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 1 one request made to Pro-Fab, Inc. and Senior Aerospace Jet Products includes “any and all documents
 2 relating to the manufacture, purchase, processing, testing, and/or sale of 6al-4v or 6al-6v-2sn forged
 3 titanium, whether standing alone or as incorporated into a part or product, pursuant to any revision of
 4 specifications MIL-T-9046, AMS-T-9046, AMS 4911, DMS 1592, or DMS 1570 between 2001 and
 5 2008, including but not limited to requests for quotation, purchase orders to vendors, forging documents,
 6 processing and manufacturing documents, travelers, test reports, certifications, invoices, packing lists,
 7 notes, and internal and external correspondence.” See e.g. Ex. “A”, Pro-Fab Inc.’s Mot. to Quash
 8 Subpoena (Doc. No. 721). Similar requests are also included in the subpoenas issued to Titanium
 9 Industries, Inc. and Supra Alloys, Inc.
10          The subpoenaed business entities, at least some of which are business competitors of Western,
11 contend that the subpoenas must be quashed because they are overbroad and unduly burdensome. Each
12 entity points out that the requested production requires the review of an extraordinary number of
13 business documents. Pro-Fab, Inc. indicates that compliance with its subpoena would require the
14 examination of at least tens of thousands and possibly hundreds of thousands of documents. Titanium
15 Industries, Inc. represents that compliance with the subpoena requests would require the review of
16 thousands upon thousands of documents, and encompass the production of classified materials, sensitive
17 communications, technological and manufacturing advancements, and future business plans, all of
18 which could operate to benefit Western, to the detriment of Titanium Industries, Inc., for years to come.
19 Senior Aerospace Jet Products indicates that compliance would potentially require hundreds of hours of
20 employee time to sift through nearly a decade’s worth of business records and further notes that the
21 subpoena requests require the production of sensitive and proprietary documents which would require
22 third party notification and consent. Supra Alloys, Inc. estimates that the review required by the
23 subpoena would require weeks, if not months, to complete.
24          Having reviewed each of the subpoenas at issue, the Court agrees with the non-parties’ position
25 that the subpoenas are overbroad and do not comply with Rule 17(c) of the Federal Rules of Criminal
26 Procedure. “Rule 17(c) was not intended to provide an additional means of discovery. Its chief
27 innovation was to expedite the trial by providing a time and place before trial for the inspection of the
28 subpoenaed materials.” Bowman Dairy Co. v. United States, 341 U.S. 214, 220 (1951). Thus, Rule 17

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 1 is “merely an aid for obtaining relevant and evidentiary materials which the moving party plans to use
 2 at trial or in some other court proceeding.” United States v. Noriega, 764 F.Supp. 1480, 1492 (S.D. Fla.
 3 1991), citing United States v. Cuthbertson, 630 F.2d 139, 144 (3d Cir. 1980).
 4          The test for enforcement of a subpoena is whether its constitutes a good faith effort to obtain
 5 identified evidence rather than a general “fishing expedition” that attempts to use the rule as a discovery
 6 device. Bowman at 220-21. The proponent must demonstrate that subpoena clears three hurdles: (1)
 7 relevancy, (2) admissibility, and (3) specificity. United States v. Nixon, 418 U.S. 683, 700 (1974).
 8          Here, it is impossible to conclude that Western’s subpoenas reflect a genuine effort to obtain
 9 identifiable and relevant evidence. Although Western asserts that information regarding industry
10 practice is relevant to its defense, Western has made absolutely no showing that specific evidence
11 supporting its defense is in the possession of the subpoenaed parties. Western suggests that the
12 subpoenaed companies may have engaged in practices similar to those charged against Western in this
13 case, but makes no showing that any such practices were accepted within the industry. The fact that a
14 transaction occurred does not inform as to the intent behind the transaction and the fact that other
15 companies may have engaged in the same type of transactions charged in this case does not necessarily
16 prove an accepted industry practice. Thus, the Court is not entirely persuaded that the information
17 sought meets the relevancy requirement of Rule 17(c).
18          Furthermore, Western does not seek evidence of specified transactions, but rather has requested
19 the wholesale production of “any and all” documents relating to broad categories over a substantial
20 period of time in the hope that its suspicions will be borne out. The Court agrees that this is precisely
21 the type of fishing expedition forbidden under Rule 17(c). “If the moving party cannot reasonably
22 specify the information contained or believed to be contained in the documents sought but merely hopes
23 that something useful will turn up, this is a sure sign that the subpoena is being misused.” Noriega, 764
24 F.Supp. at 1493.
25          While “exquisite specificity” may not be required to enforce a subpoena, as Western maintains,
26 the wholesale production of documents which ultimately may turn out to contain little or no material
27 evidence is certainly not condoned. See United States v. Poindexter, 727 F.Supp. 1501, 1510 (D.D.C.
28 1989) (recognizing that “exquisite specificity” is not a prerequisite for enforcement of subpoena, but

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 1 refusing to require “wholesale production of documents which ultimately may turn out to contain little
 2 or no material evidence.”). See also United States v. Louis, 2005 WL 180885 *5 (S.D.N.Y January 27,
 3 2005) (demand for “‘any and all’ documents relating to several categories of subject matter ..., rather
 4 than specific evidentiary items” indicates that the subpoena's proponent “seeks to obtain information
 5 helpful to the defense by examining large quantities of documents, rather than to use Rule 17 for its
 6 intended purpose–to secure the production for a court proceeding of specific admissible evidence.”).
 7 Therefore, the Court finds that the subpoenas fail on the specificity prong of the Nixon analysis.2
 8           Finally, given the non-parties’ representations regarding the vast expenditures of time and
 9 resources necessary to comply with the subpoena requests within the relatively short time confines of
10 the trial period, the Court finds that the requested subpoenas constitute an oppressive and unreasonable
11 use of the process of court.
12                                                   Conclusion
13           The Court finds that the subpoenas issued to non-parties Pro-Fab, Inc., Titanium Industries, Inc.,
14 Senior Aerospace Jet Products, and Supra Alloys, Inc., do not comply with the requirements of Rule
15 17(c) of the Federal Rules of Criminal Procedure. In addition, the Court finds that compliance with the
16 subpoenas would be unreasonable and oppressive. Accordingly, the subpoenas are HEREBY
17 QUASHED.
18           IT IS SO ORDERED.
19 DATED: November 4, 2010
20                                                        Honorable Janis L. Sammartino
                                                          United States District Judge
21
22   COPY:

23   All Parties/Counsel
     Counsel for Movants Pro-Fab, Inc.,
24    Titanium Industries, Inc.,
      Senior Aerospace Jet Products, and
25    Supra Alloys, Inc.

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28            The Court is not aware of specific evidence of industry practice in the possession of the
     subpoenaed entities. Accordingly, Western’s request that the Court modify the subpoena so as to seek
     those documents is DENIED.
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